Meghan Claiborne

From:                             Chris McInerney <cmcinerney@themalonefirm.com>
Sent:                             Monday, February 15, 2021 3:50 PM
To:                               Meghan Claiborne
Cc:                               Thomas Malone
Subject:                          RE: Wexler v. City, et al. - O'Reilly Deposition
Attachments:                      15FEB21 NoD to Keenan.pdf; 15FEB21 NoD to Koenig.pdf



   External Email Notice. This email comes from outside of City government. Do not click on links or open
attachments unless you recognize the sender.

Confirmed.

I've attached notices for Detective Koenig for 2/17 at 1 P.M. and Corporal Keenan for 2/18 at 10 A.M.

Thanks,
Chris

From: Meghan Claiborne [Meghan.Claiborne@Phila.gov]
Sent: Monday, February 15, 2021 3:14 PM
To: Chris McInerney
Cc: Thomas Malone
Subject: RE: Wexler v. City, et al. - O'Reilly Deposition

Confirmed. Please see the attached notice of Deposition for Plaintiff for tomorrow following the conclusion of Officer
O’Reilly’s deposition. Please confirm.

Thank you,
Meghan

From: Chris McInerney <cmcinerney@themalonefirm.com>
Sent: Monday, February 15, 2021 1:35 PM
To: Meghan Claiborne <Meghan.Claiborne@Phila.gov>
Cc: Thomas Malone <tmalone@themalonefirm.com>
Subject: Wexler v. City, et al. - O'Reilly Deposition

   External Email Notice. This email comes from outside of City government. Do not click on links or open
attachments unless you recognize the sender.

Good afternoon,

I'm writing on behalf of Mr. Malone to confirm tomorrow's deposition of Officer O'Reilly at 10 A.M. via Zoom (for which
the notice is attached), and to confirm that we'll be using your court reporter.

Please provide us with the reporter's information and the link to the Zoom meeting at your earliest convenience.

Best,
Chris McInerney
Paralegal, The Malone Firm



                                                            1
